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                        IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________
IN RE SUBOXONE (BUPRENORPHINE               :     MDL NO. 2445
HYDROCHLORIDE AND NALOXONE)                 :     13-MD-2445
ANTITRUST LITIGATION                        :
                                            :
THIS DOCUMENT RELATES TO:,                  :
                                            :
Wisconsin, et al. v. Indivior Inc. et al.   :
Case No. 16-cv-5073                         :
_________________________________________ :
STATE OF WISCONSIN                          :
By Attorney General Brad D. Schimel, et al. :
                                            :     CIV. A. NO. 16-5073
                                Plaintiffs, :
               v.                           :
                                            :
INDIVIOR INC. f/k/a RECKITT BENCKISER :
PHARMACEUTICALS, INC., et al.               :
                                            :
                                Defendants. :
__________________________________________:

                                          ORDER

       AND NOW, this 15th day of April, 2021, upon consideration of the Direct Purchaser

Plaintiffs (“DPPs”) Motion for Leave to File a Third Amended Class Action Complaint (Doc. No.

687), Defendant’s letter response (Doc. No. 712) and third-party Reckitt Benckiser Group plc’s

letter response (Doc. No. 713), it is hereby ORDERED that the DPPs’ Motion for Leave to File a

Third Amended Class Action Complaint is DENIED.

       It is FURTHER ORDERED that RBG’s Motion for Extension of Time to File Response

(Doc. No. 693) is DENIED AS MOOT.


                                           BY THE COURT:



                                           /s/ Mitchell S. Goldberg
                                           MITCHELL S. GOLDBERG, J.
